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              Transcript of Telephone Interview
           Daniel Horwitz interviewing Treyton Lattimore

              Transcribed from a digital file entitled:

                               “ct59Vab6xw”

                             August 31, 2021

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 1                    MR. HORWITZ:         -- so much.        I -- I know this wasn’t

 2     easy.     But --

 3                    MR. LATTIMORE:          Oh, no, it’s all good, man.                I

 4     would have gotten back to you sooner, but I’ve had a lot of

 5     stuff going on with work and stuff, so [indiscernible].

 6                    MR. HORWITZ:         No.     I -- I understand.           And you’re

 7     doing us a huge favor here.                I -- I’m just trying to figure

 8     out what happened.           Can you -- can you tell me about that,

 9     or tell me who -- who might know?

10                    MR. LATTIMORE:          Well, the only person who knows

11     what happened in the cell with Adams would be Elledge.                             And

12     Elledge now, I believe, is at Riverbend Maximum Security.

13                    MR. HORWITZ:         Right.     And indicted, right?

14                    MR. LATTIMORE:          Yes.    He’s been charged -- like

15     the day that that stuff happened [indiscernible].                           And so

16     the only thing that I can speak on is from the time I got

17     the call on the radio, because I was an officer in another

18     unit that night.

19                    MR. HORWITZ:         Okay.

20                    MR. LATTIMORE:          But I was what was known as ERT,

21     which is the emergency response team.                     And so whenever I got

22     the call, I just responded to it.

23                    MR. HORWITZ:         Okay.     So do you still work there?

24                    MR. LATTIMORE:          No, I don’t.

25                    MR. HORWITZ:         Okay.     When -- can you -- can you


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 1     tell me when you stopped working there?

 2                    MR. LATTIMORE:          I stopped working there in May.

 3                    MR. HORWITZ:         All right.

 4                    MR. LATTIMORE:          Yeah, so it was pretty recent.

 5                    MR. HORWITZ:         So you’re the first one who got the

 6     call that -- that what, there was an assault, or somebody

 7     was injured?

 8                    MR. LATTIMORE:          Well -- well, we didn’t know that

 9     it was an assault, because the call that we got over the

10     radio -- because the officers that were down there, they

11     didn’t actually physically see the assault.                      What we got a

12     call over the radio was we had a medical emergency, because

13     there was an inmate face down in a pool of blood.

14                    MR. HORWITZ:         Okay.

15                    MR. LATTIMORE:          And from there -- I was over in

16     Bravo Unit, which is right next to Segregation on that

17     compound.

18                    MR. HORWITZ:         Okay.

19                    MR. LATTIMORE:          And whenever I got there there was

20     a member of SORT (phonetic) that was already there, there

21     was one other officer, and the two officers that were

22     responsible for Alpha Unit that night.

23                    MR. HORWITZ:         Okay.   And this happened in

24     Alpha Unit?

25                    MR. LATTIMORE:          Yes, this happened in Alpha Echo.


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 1                    MR. HORWITZ:         So where -- where were the officers

 2     who were responsible for that unit?                    That’s part of why I’m

 3     [indiscernible].

 4                    MR. LATTIMORE:          They were -- they were actually in

 5     -- whenever they discovered the inmate, doing count.

 6                    MR. HORWITZ:         Okay.     So the --

 7                    MR. LATTIMORE:          And --

 8                    MR. HORWITZ: -- no -- nobody saw the fight take

 9     place --

10                    MR. LATTIMORE:          Correct.

11                    MR. HORWITZ: -- or anything?

12                    MR. LATTIMORE:          No.

13                    MR. HORWITZ:         And do we know how long -- how much

14     time elapsed between when he was -- when he was hit and when

15     he was discovered?

16                    MR. LATTIMORE:          On that one, I’m not sure.               But

17     what I can say is, I was one of the first officers -- I was

18     the officer that had like a front-row seat whenever we

19     opened the door.          And the blood that was around his head was

20     dried.

21                    MR. HORWITZ:         Was dry.

22                    MR. LATTIMORE:          Yes.

23                    MR. HORWITZ:         Got it.      So we’re talking about --

24                    MR. LATTIMORE:          So it had -- it had been a while.

25     Yeah, it had been a while.                 And I was the officer that


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 1     started CPR.

 2                    MR. HORWITZ:         Okay.

 3                    MR. LATTIMORE:          And I’m not a doctor or anything,

 4     but once I started CPR, he was dead.

 5                    MR. HORWITZ:         Got it.     First of all, thank you for

 6     -- for --

 7                    MR. LATTIMORE:          Oh, yeah, of course, of course.

 8                    MR. HORWITZ: -- talking through this.                    I

 9     imagine --

10                    MR. LATTIMORE:          Yeah [indiscernible].

11                    MR. HORWITZ: -- just how traumatic for you to --

12                    MR. LATTIMORE:          I meant to -- like I meant to do

13     it like earlier.          Because I was talking to the lady who runs

14     the -- the Trousdale site -- the Trousdale “shut it down”

15     site.

16                    MR. HORWITZ:         Right.

17                    MR. LATTIMORE:          And -- and like I meant to

18     -- like I’ve been meaning to get back to her as well, and

19     then your private investigator, too.                   But I’ve just had a

20     lot of stuff like get dropped on me at home, and stuff like

21     that.     So --

22                    MR. HORWITZ:         No, I understand.

23                    MR. LATTIMORE: -- like I apologize for -- for my

24     procrastination on it.             I should have got it done sooner.

25                    MR. HORWITZ:         It’s -- it’s -- it’s okay.              I -- I


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 1     really appreciate it.             And I’m -- I’m sure that it’s --

 2                    MR. LATTIMORE:          Oh, yes, sir.

 3                    MR. HORWITZ:         -- traumatic for you as well.

 4                    MR. LATTIMORE:          Well, I mean -- and this -- this

 5     is going to sound a little jacked up, but it’s honestly not,

 6     because I was a military police officer.                      So I was exposed

 7     to like stuff like this before.                  That’s why I’m able to tell

 8     you this stuff in a calm demeanor, because I’m -- it -- it

 9     sounds like [indiscernible] it sounds really jacked up, but

10     I’m used to it.

11                    MR. HORWITZ:         Okay.      Are there no cameras or

12     anything that would have shown what happened?

13                    MR. LATTIMORE:          Within the cell, no.

14                    MR. HORWITZ:         Okay.

15                    MR. LATTIMORE:          The only cameras that are in --

16     there are two cameras in Alpha Echo.                    There’s one at the

17     beginning of the pod, and there’s one on the backside of the

18     pod.

19                    Where they were at, they where in Alpha Echo 213.

20     And right there, there are no cameras that can view inside

21     of that cell.         Plus for privacy reasons, we can’t put

22     cameras in the cell, unless they are a suicide risk, and

23     they’re on suicide watch.                  Other than that, there are no

24     cameras in the cells.

25                    MR. HORWITZ:         Okay.      How -- how often does


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 1     something like this happen?                I mean, that it --

 2                    MR. LATTIMORE:          Depending, generally speaking,

 3     usually with Trousdale there’s a high number of assaults and

 4     homicides and overdoses, and stuff like that.                         Like

 5     Trousdale-Turner is a very rough prison to work in and be

 6     housed in.

 7                    MR. HORWITZ:         Got it.      I mean, I -- I guess what

 8     I’m trying to figure out is it seems like there was a

 9     significant delay between when he was -- when he was injured

10     and when he was discovered.

11                    MR. LATTIMORE:          Yes.

12                    MR. HORWITZ:         And --

13                    MR. LATTIMORE:          And -- and what I can say about

14     that is that particular night -- it was December 14th, 2020,

15     that particular night there was two officers working

16     Alpha Unit. There’s supposed to be five.

17                    MR. HORWITZ:         Okay.

18                    MR. LATTIMORE:          But there was --

19                    MR. HORWITZ:         Do you -- do you know why the other

20     three weren’t there?

21                    MR. LATTIMORE:          Staffing issues.          There -- there

22     was no one that we could put on the schedule to take -- to

23     like man those posts, because we literally did not have the

24     staff.

25                    MR. HORWITZ:         Got it.      Is there --


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 1                    MR. LATTIMORE:          Like that night, like that

 2     particular night, the officer that I was training was a

 3     brand-new officer.           And whenever that stuff happened, you

 4     know, I had to leave him in Bravo Unit by himself.                         And I

 5     was also one of the officers that had to go to the hospital

 6     with [indiscernible] Adams.

 7                    MR. HORWITZ:         Got it.

 8                    MR. LATTIMORE:          And so literally -- so whenever I

 9     left and another officer left, that left two other pods with

10     two other units with one officer in it.                    So that was two

11     units with 360 inmates, with one officer.

12                    MR. HORWITZ:         Jeez.

13                    MR. LATTIMORE:          Yeah.

14                    MR. HORWITZ:         So that -- in -- in this unit where

15     this happened, there were 360 inmates?

16                    MR. LATTIMORE:          I’m not sure of the exact numbers,

17     because I wasn’t counting that.

18                    MR. HORWITZ:         But around there?

19                    MR. LATTIMORE:          [indiscernible] but generally

20     speaking that’s the capacity, yes, 360 inmates.

21                    MR. HORWITZ:         Got it.    So I -- I assume like with

22     five officers [indiscernible] might be able to hear a fight,

23     or something like that?

24                    MR. LATTIMORE:          Oh, yeah, definitely, definitely.

25     Because with five officers that means that there’s one


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 1     officer per pod, and officers are like sitting in the pod.

 2     You know, so if there was an officer in there when the fight

 3     was happening, yes, it would have been heard, and they would

 4     have been dealt with it.

 5                    But in my honest opinion, Adams died because of

 6     the lack of staffing.             If someone was there, then it could

 7     have been prevented -- or at least, you know, like --

 8     because I’m not sure of why they fought.

 9                    I know Elledge, he already kind of had a

10     reputation as being kind of crazy, because from like my

11     understanding, Elledge had already killed cellmates before,

12     so he shouldn’t have been housed with anyone in the first

13     place.

14                    But [indiscernible] like it was -- it was pretty

15     -- like it was -- it was a very -- like that night was

16     already stressful as it was, because we had had like a

17     couple overdoses and stuff like that.                  So we were already --

18     everybody was already running around like a chicken with

19     their head cut off, you know.              And then that just kind of

20     compounded everything else.

21                    And plus man, Adams was a good guy.                 Like I never

22     had a single issue with Adams.              I knew he was getting out

23     soon, you know.          And -- and then all of a sudden, you know,

24     we got that call.           And I’m like, “Wait, no way,” you know.

25     Like that’s the first thing that went through my head.


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 1                     Because like with -- with the amount of time that

 2      I worked there, like you get -- you know, you get to know

 3      these inmates.         You get to know where they’re at.                    You get

 4      to know their situations.                  You know?     And so it was one of

 5      those to where it was like, “No, okay, let’s go see what’s

 6      going on.”

 7                     And then whenever I got there, it was like,

 8      “Holy crap,” you know, like “Wow.”                     And -- and like a lot of

 9      people were thinking that there was a weapon involved.

10      There was not a weapon there, like at all.

11                     Hello?      Can you hear me?            Can you hear me?

12                     Oh, hold on.         I’m texting you, because I can’t

13      hear you now.

14                     Hello?      Hello?      I hear something knocking.

15                     Hello?      I can’t hear you.

16                     Hello?

17                     I can’t hear you.

18                     MR. HORWITZ:         Sir, can you hear me now?

19                     Hello?      Hello, sir?         Sir, I’m going to -- I’m

20      going to...

21                     MR. LATTIMORE:          Hello?

22                     MR. HORWITZ:         Hey, I can hear you now.

23                     MR. LATTIMORE:          Okay.     Cool, cool, cool.           There we

24      go.

25                     MR. HORWITZ:         I’m so sorry.         I think I might have


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 1      [indiscernible] connected to my bluetooth headset.                          My

 2      apologies.

 3                     MR. LATTIMORE:          Oh, it’s all good, man.             It’s all

 4      good.

 5                     MR. HORWITZ:         What I was going to ask is:               Is

 6      there documentation that would demonstrate the staffing

 7      issues?

 8                     MR. LATTIMORE:          There should be.         As far as like

 9      from that night, there should be a roster.

10                     MR. HORWITZ:         Okay.

11                     MR. LATTIMORE:          Because I know every night the

12      lieutenants and the captains have to create a roster that

13      gets sent up the chain of command.                  So --

14                     MR. HORWITZ:         Okay.

15                     MR. LATTIMORE: -- yes, there is some paperwork as

16      to who was scheduled to what pod.

17                     MR. HORWITZ:         Okay.     And there were just three

18      people who didn’t show up?

19                     MR. LATTIMORE:          No.    There wasn’t anyone that we

20      had to place on the shift.

21                     MR. HORWITZ:         Got it.

22                     MR. LATTIMORE:          And as it was, like we were --

23      like every officer was already working six 16-hour shifts a

24      week at that particular time.                So if the officers were off,

25      it was literally one of those where they earned it, because


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 1      we had been busting our butts like -- like God knows what.

 2                     MR. HORWITZ:         Got it.      So they -- the -- the

 3      warden would just put two people in the unit?

 4                     MR. LATTIMORE:          No.    It wasn’t the warden.             It was

 5      the captain or the lieutenant that was on shift, based on

 6      the amount of staff that we had.

 7                     And in that particular instance, every other unit

 8      except for my unit and Whiskey Unit, and Alpha Unit, and I

 9      believe Delta Unit -- every other unit has one officer.                              So

10      you had Foxtrot with one officer, Charlie with one officer,

11      and Echo with one officer.

12                        Now after that incident happened, everywhere

13      except for Alpha and Whiskey had one officer.

14                     MR. HORWITZ:         Got it.

15                     MR. LATTIMORE:          Yeah [indiscernible] that was

16      horrible at that time.

17                     MR. HORWITZ:         So I mean, isn’t there like a yearly

18      audit that happens in January, where they -- they go back

19      through and they look through this to make sure that people

20      are compliant?

21                     MR. LATTIMORE:          Yes.

22                     MR. HORWITZ:         And they were -- they just weren’t

23      worried about being in noncompliance?

24                     MR. LATTIMORE:          I mean, like, it was one of those

25      to where like we prepared for what we could handle and what


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 1      we could help.         You know, like, with the fact of, you know,

 2      not enough officers are hired on, you know what I mean, that

 3      doesn’t necessarily fall on the captains and the

 4      lieutenants; that’s an HR issue.

 5                        You know, because the captains and the

 6      lieutenants, they’re literally given a list of people, like

 7      okay, these are the people that are going to be on, you have

 8      to put these people, you know, where they can fill the best

 9      needs.

10                     MR. HORWITZ:         Got it.      All right.

11                     I mean, it -- it just seems like -- with this

12      prison it seems like there are so many issues unique to this

13      prison.

14                     MR. LATTIMORE:          Yes.

15                     MR. HORWITZ:         I’m -- I’m sort of confused at the

16      -- what about Trousdale is -- is so much worse than all the

17      other facilities?

18                     MR. LATTIMORE:          Well, the thing with Trousdale is,

19      Trousdale was designed to be a minimum security facility, to

20      where we’re not supposed to house anybody with medium to

21      maximum points, none of that.

22                     MR. HORWITZ:         Okay.

23                     MR. LATTIMORE:          Trousdale-Turner has, in essence,

24      become the trash can of TDOC, meaning, if prisons won’t

25      accept these inmates, they literally just send them to


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 1      Trousdale.       So you’ve got an -- you’ve got a huge mix of

 2      different security levels under one roof.

 3                     MR. HORWITZ:         Got it.

 4                     MR. LATTIMORE:          That -- that is like adding a

 5      gallon of gasoline to an open flame.

 6                     MR. HORWITZ:         Right, right.        And you pair that

 7      with understaffing, I imagine it’s --

 8                     MR. LATTIMORE:          Exactly.     And --

 9                     MR. HORWITZ: -- [indiscernible].

10                     MR. LATTIMORE: -- not just because of staffing,

11      but then with the drug cases, and drug overdoses and stuff

12      like that.       So not only are you understaffed, but you’ve got

13      a majority of your inmates intoxicated on either

14      methamphetamine or heroin.                 [indiscernible] --

15                     MR. HORWITZ:         So I was going to ask about that.

16      Because we -- I got a tip that -- that this fight had

17      something to do with -- with meth.                  And the -- the entire

18      prison would have been locked down for almost a year because

19      of Covid.       Do you -- I mean, do you have any sense of how

20      they would have gotten it?

21                     MR. LATTIMORE:          Well, on that instance, I’m not

22      100 percent sure, because at that point, yeah, you’re right,

23      the prison was locked down from the outside.                       Now, on the

24      inside, it’s not locked down.                 You know, the inmates were

25      kind of like more or less quarantined to their pods.


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 1                     MR. HORWITZ:         Uh-huh.

 2                     MR. LATTIMORE:          Now, in Segregation they weren’t

 3      allowed to come out.            But I do know that like say for

 4      instance if someone has drugs from another pod, right, and

 5      they come into Segregation, and one of the officers that

 6      went through their stuff happened to miss something that was

 7      in their stuff, then they would have to [indiscernible] --

 8                     MR. HORWITZ:         [indiscernible] can get to another

 9      pod.

10                     MR. LATTIMORE:          -- that way, yeah.           And then --

11                     MR. HORWITZ:         But --

12                     MR. LATTIMORE:          -- they would do what’s called

13      “fish,” where they throw contraband back and forth to each

14      other, connected to strings, and then they could pull it in,

15      you know.

16                     Now what I do know is whenever I was there, no

17      drugs were discovered or found.                  But I also was not a part

18      of the search procedures for that cell, because once the

19      EMTs arrived, I literally sat with the inmate the entire

20      time until the county coroner came to take jurisdiction over

21      his body.

22                     MR. HORWITZ:         Okay.      Do -- do you know if Elledge

23      said anything?

24                     MR. LATTIMORE:          Elledge -- Elledge literally

25      refused to talk about it.                  The only thing that Elledge had


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 1      said was once we opened the door, all he said was, “I’m

 2      sorry.”      For the rest of the night he acted like as if

 3      nothing happened.           That was also how I knew that dude was

 4      crazy.

 5                     MR. HORWITZ:         Got it.     Do you --

 6                     MR. LATTIMORE:          [indiscernible].

 7                     MR. HORWITZ:         -- know anything about his security

 8      designation?

 9                     MR. LATTIMORE:          His security designation should

10      have been “max,” because with Elledge [indiscernible] you’ll

11      see Elledge has been to Trousdale a few different times.

12                     MR. HORWITZ:         Right.

13                     MR. LATTIMORE:          And he keeps getting shipped out

14      to Riverbend, which is maximum security.                     But Riverbend

15      doesn’t want to deal with him, so they ship him back to

16      Trousdale.       And it’s like a constant cycle of him bouncing

17      back and forth.

18                     MR. HORWITZ:         Got it.     When -- when you say

19      “should have been max,” what -- do you know if he was?

20                     MR. LATTIMORE:          I believe that he was, but I’m not

21      100 percent sure, because I didn’t deal in classifications.

22                     MR. HORWITZ:         Got it.

23                     MR. LATTIMORE:          [indiscernible].

24                     MR. HORWITZ:         All right.      Do you know why he was

25      housed with Mr. Adams?


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 1                     MR. LATTIMORE:          I do not know.         I know Mr. Adams

 2      was in Segregation for protective custody.

 3                     MR. HORWITZ:         Got it.      Do you know -- and do you

 4      know what [indiscernible]?

 5                     MR. LATTIMORE:          (No audible response.)

 6                     MR. HORWITZ:         Okay.     Segregation, you’re alone,

 7      right?

 8                     MR. LATTIMORE:          What do you mean, like in your

 9      cell?

10                     MR. HORWITZ:         Right.     Like he -- like he doesn’t

11      have a -- like a cellmate?

12                     MR. LATTIMORE:          No.    That’s -- that’s not the

13      case.     In Segregation it’s still two-per.

14                     MR. HORWITZ:         Okay.

15                     MR. LATTIMORE:          Now, Elledge should have been by

16      himself.      [indiscernible] --

17                     MR. HORWITZ:         Is that because of his security

18      designation?

19                     MR. LATTIMORE:          Yes.

20                     MR. HORWITZ:         Okay.

21                     MR. LATTIMORE:          Elledge should have been by

22      himself, because there’s even -- like even the officers will

23      tell you, Elledge was coo-coo for Cocoa Puffs.

24                     MR. HORWITZ:         Got it.      Like violent, and getting

25      into trouble, that sort of thing?


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 1                     MR. LATTIMORE:          Yes.    Like violent, like

 2      boisterous talk to them and stuff, and always had weapons on

 3      him.     He was known for attacking officers, known for

 4      attacking other inmates.

 5                     MR. HORWITZ:         And would it -- I -- I guess I’m

 6      trying to figure out why if somebody is in protective

 7      custody they would -- they would be matched up with somebody

 8      like that.

 9                     MR. LATTIMORE:          I honestly think they just put him

10      where an empty bed was, because how it usually goes in

11      Segregation.        Once the inmate is going to Segregation, first

12      we take him to intake.             And once we get him in intake, then

13      the count room looks for an empty bed in Seg.                         Once they

14      find an empty bed in Seg, just plug and go.

15                     MR. HORWITZ:         Got it.      Do you know if they had

16      been housed together for while?

17                     MR. LATTIMORE:          On that one I am not sure.               Once

18      again, that would be something that the count room at

19      Trousdale could address, because the count room was

20      responsible for placing all of the inmates in their assigned

21      cells.

22                     MR. HORWITZ:         Got it.      I mean, I -- I assume

23      whatever evidence of negligence there was in -- in

24      documentation is gone by this point.                    But that’s probably --

25                     MR. LATTIMORE:          On that one, I’m not 100 percent


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 1      sure.     Because what I do know is the counts, they’re turned

 2      in to TDOC after every count.                 And with those counts also

 3      are the cell assignments with those counts as well.                            And at

 4      the beginning of every shift, that opening count, we go

 5      through and we do what’s called a E-TOMIS check, which is

 6      making sure that all the inmates are in their assigned

 7      cells, per E-TOMIS.

 8                     E-TOMIS is the -- is the Tennessee system that has

 9      all the inmates’ information, from their security level to

10      their housing assignments, to their good times, to their job

11      assignments, pretty much -- it’s -- it’s pretty much like

12      the Google for inmates.              You know, you look up an inmate

13      based on their TDOC number, you can see everything about

14      them.

15                     MR. HORWITZ:         Got it.      Got -- is there like a risk

16      manager or a compliance officer who’s -- who’s preventing

17      this sort of thing from happening?                   Because I know there was

18      another murder just, you know, like six weeks or eight weeks

19      later.

20                     MR. LATTIMORE:          Yes.    Now with that, the only --

21      the only type of compliance officer that I was aware of, it

22      was like the ethics liaison.               But that was more or less for

23      officers making sure we were doing what we were supposed to

24      do.

25                     As far as like risk management and stuff like


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 1      that, that was way above my pay grade, so I can’t answer

 2      that, because I don’t know.

 3                     MR. HORWITZ:         Got it.      And like the warden is not

 4      worried about being sued or anything?                     I mean, it just seems

 5      like are so many incidents at this prison.

 6                     MR. LATTIMORE:          Oh, well, on that case, man, like

 7      CoreCivic is all privatized.                So the warden himself, it --

 8      he wouldn’t get sued for it.                It would fall on CoreCivic.

 9      And then CoreCivic would deal with it however they see fit

10      to deal with it.

11                     MR. HORWITZ:         Okay.     And even like bring everybody

12      in, do a debrief as to how this happened, how to prevent it?

13                     MR. LATTIMORE:          On that one, no.          I know that day

14      -- like the day -- the morning after it all happened, they

15      called all the officers that witnessed it, they called us in

16      to speak to the investigator.                 But the investigator never

17      spoke to me.

18                     MR. HORWITZ:         This is a CoreCivic investigator?

19                     MR. LATTIMORE:          Yes.    She works at CoreCivic,

20      Investigator Woods (phonetic).

21                     MR. HORWITZ:         Okay.     And when you say “all the

22      officers” that saw it, you’re talking about after -- after

23      he was dead, right?

24                     MR. LATTIMORE:          Yes.    I’m talking about the

25      officers that responded, and the other officer that was with


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 1      me in the hospital with the inmate.

 2                     MR. HORWITZ:         Got it.    Did -- I guess did the --

 3      did the docs at the hospital -- did anyone say anything that

 4      would be important to know?

 5                     MR. LATTIMORE:          Well, they pronounced him dead on

 6      the scene --

 7                     MR. HORWITZ:         Okay.

 8                     MR. LATTIMORE:          -- which is the first time I’d

 9      ever seen that happen.             Because Trousdale at night, there’s

10      no doctors there, and only doctors can pronounce a person

11      dead.     But the EMT that was there, I guess he was the

12      captain, and he pronounced him DOA.

13                     And once we got to the hospital, they kind of put

14      us in a storage room with him.                Like -- like -- because this

15      hospital is very small, so they didn’t necessarily have a

16      morgue.

17                     So it was literally me, one other officer, and the

18      deceased.       The deceased was restrained to the bed, and he

19      was not placed in a body bag until the county coroner came

20      to take jurisdiction over the body.

21                     MR. HORWITZ:         Got it.

22                     MR. LATTIMORE:          Because once we got into the

23      hospital, we could not do anything to him.                     We couldn’t

24      cover him up.         We couldn’t uncuff him.            We literally could

25      not touch him because at that point he was evidence.


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 1                     MR. HORWITZ:         Got it.      And every -- this is

 2      blunt-force trauma, right?

 3                     MR. LATTIMORE:          Yes.

 4                     MR. HORWITZ:         Okay.

 5                     MR. LATTIMORE:          It was ruled blunt-force trauma.

 6                     MR. HORWITZ:         Whew.      God.    I guess that’s all I

 7      can think of to ask.

 8                     Is there anything else that I -- that I need to

 9      know about this?

10                     MR. LATTIMORE:          With that particular incidence,

11      I’m not 100 percent sure.                  Yeah, I’ve told you everything

12      that I know.        I’ve told you my involvement in it.

13      Everything else, I’m not 100 percent sure on.

14                     MR. HORWITZ:         Okay.      They -- they don’t --

15      CoreCivic doesn’t encourage people to, you know, destroy

16      documents or anything, do they?

17                     MR. LATTIMORE:          Oh,     negative.      No.     We’ve never

18      been told to destroy or tamper anything.                      Now, as far as

19      writing reports go, they will tell us, you know, to kind of

20      word things differently.              But that’s only on like uses of

21      force and stuff like that, like getting technical with it.

22                     Like we can’t say that “the guy threw a punch.”

23      We can say that “he took his left arm -- or left hand with a

24      clenched fist and struck so-and-so’s body part,” like what

25      body part they hit or like --


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 1                     MR. HORWITZ:         Okay.     For -- for something like

 2      this, though, I guess what I’m concerned about is I -- I

 3      sent a records request to -- to CoreCivic and got like

 4      nothing back.

 5                     MR. LATTIMORE:          Yes.

 6                     MR. HORWITZ:         Or very, very little back.               I just

 7      -- I’m surprised, you’d think with a -- you know, a murder

 8      in the facility there would be -- there would be a lot more,

 9      and there wasn’t.

10                     MR. LATTIMORE:          Oh, yeah, definitely.             Definitely.

11      Now, I think, honestly, on that one, I think CoreCivic is

12      trying to cover their butt --

13                     MR. HORWITZ:         Right.

14                     MR. LATTIMORE: -- because the fact of us being,

15      you know, not properly staffed.                  Like if -- like I said, if

16      we were staffed, that incident would have turned out way

17      different.

18                     But you know, like at the end of the day,

19      CoreCivic is the one, in my opinion, that is responsible for

20      that happening, because number one, they knew Elledge’s

21      track record.         Number two, they knew Adams’ security level.

22      And number three, they should have known that at any point

23      in time -- you know, Elledge has already harmed other

24      inmates -- he shouldn’t be around anybody.

25                     MR. HORWITZ:         Got it.      When you say, turned out


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 1      differ -- could have turned out differently if they were

 2      properly staffed, what -- what do you mean by that?

 3                     MR. LATTIMORE:          I mean, I’m saying that I think

 4      Adams would be alive --

 5                     MR. HORWITZ:         Got it.      Do you -- do you think --

 6                     MR. LATTIMORE:          -- like no -- no doubt in my mind.

 7                     MR. HORWITZ:         Do you think your -- your coworkers

 8      would agree with that -- or your former coworkers?

 9                     MR. LATTIMORE:              I think the ones -- I think the

10      ones that still work for CoreCivic would not comment on

11      it --

12                     MR. HORWITZ:         Right.

13                     MR. LATTIMORE: -- because they would probably lose

14      their job.       But if they weren’t still employed with

15      CoreCivic, I do think that they would agree.

16      [indiscernible] --

17                     MR. HORWITZ:         Like CoreCivic would fire people for

18      -- for testifying against them?

19                     MR. LATTIMORE:          Pretty much, yes, because whenever

20      we worked for CoreCivic, we are assigned -- we have to sign,

21      of course, an NDA that the stuff that happens there, we

22      can’t speak to media about it unless, you know, there’s a

23      CoreCivic spokesperson there.                 We can’t comment on anything

24      to medias while we’re still employed by CoreCivic.

25                     We can’t even go on a Facebook post unless it’s


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 1      making CoreCivic look good, you know.                     We can’t say anything

 2      about what goes on in the prison, or we will be fired.

 3                     MR. HORWITZ:         Got it.      That -- and they make

 4      people sign that up front?

 5                     MR. LATTIMORE:          Yes.

 6                     MR. HORWITZ:         Jeez.

 7                     MR. LATTIMORE:          That’s apart of your entrance

 8      paperwork.

 9                     MR. HORWITZ:         Got it.

10                     MR. LATTIMORE:          They have -- they have a class on

11      it in the training academy.

12                     MR. HORWITZ:         Got it.      Is that unique to

13      CoreCivic?       Did they make you do that at TDOC?

14                     MR. LATTIMORE:          I’m not sure.         I didn’t do

15      corrections with TDOC, I did corrections with the

16      United States Army.

17                     MR. HORWITZ:         Got it.      Got it.      But once -- once

18      you get to CoreCivic, they -- they put that thing in front

19      of you and they make you sign it?

20                     MR. LATTIMORE:          Oh, yeah, definitely.             Definitely.

21      Now, of course, I mean, in the military, it’s kind of the

22      same thing.        You know, like you can’t say anything that

23      could be a detriment to the military.                     But with CoreCivic,

24      yeah, that thing goes on.

25                     Because like there was -- there was one incident


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 1      where I was with an inmate at the hospital, and he had died

 2      and come back.         Right?      Because he had -- he had already

 3      health complications, and he was getting up there in age.

 4      And like he died and he came back.                   And like that -- that

 5      experience like kind of shook me a little bit, right?

 6                     So I was talking about it on Facebook and one of

 7      my coworkers was like, “Hey, you need to take this down,

 8      because if somebody from HR sees it, they’re going to fire

 9      you.”

10                     MR. HORWITZ:         Got it.      Is that common?          Do people

11      get fired for doing that?

12                     MR. LATTIMORE:          Yes.

13                     MR. HORWITZ:         Wow.      Can you think of anybody who

14      might talk to me about this other than you?

15                     MR. LATTIMORE:          About this particular incidence?

16                     MR. HORWITZ:         Yes.

17                     MR. LATTIMORE:          I don’t have his phone number, but

18      I know you can look him up on Facebook, because he was there

19      with me.      Now, I’m not sure that he’ll talk to you, because

20      he was kind of a jerk.             But [indiscernible] yeah, his name

21      is Tristan Morgan (phonetic).                 And --

22                     MR. HORWITZ:         And this is a former

23      [indiscernible]?

24                     MR. LATTIMORE:          Yes.     Yes, he’s a former CO.             He

25      was one of the officers that responded to it with me.                             He


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 1      actually threw up whenever we opened the door.                       Like he was

 2      very shook.        After that incident, he refused to work in

 3      Segregation --

 4                     MR. HORWITZ:         Got it.

 5                     MR. LATTIMORE:          -- like would not go back.

 6                     MR. HORWITZ:         Got it.    Do you know if he spoke to

 7      the investigator?

 8                     MR. LATTIMORE:          I’m not sure if he did.

 9                     MR. HORWITZ:         Okay.

10                     MR. LATTIMORE:          Because I know we sat around and

11      we waited.       The investigator never showed up.                  And me and a

12      few of the other officers, once that stuff happened, we

13      actually -- this is going to sound a little jacked up --

14      this is like at 11:00 in the morning, we went out and got

15      drunk.

16                     MR. HORWITZ:         Got it.

17                     MR. LATTIMORE:          Because we kind of had -- you

18      know, it was -- it was very -- it was rough for all of us.

19      Especially because, I mean, like we knew how Elledge was,

20      and we knew the type of person that Adams was.                       Adams was

21      not -- you know, he was not an aggressive person.                         You know,

22      he wasn’t -- he wasn’t a bad dude.                 But Elledge was just

23      psycho.

24                     MR. HORWITZ:         Got it.    You said -- you said

25      Tristan Morgan?


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 1                     MR. LATTIMORE:          Yes.    Tristan Morgan.

 2                     MR. HORWITZ:         Okay.     And the -- and the other

 3      people who would know something about this still work there?

 4                     MR. LATTIMORE:          Yes.    They -- they are all still

 5      currently employed.

 6                     MR. HORWITZ:         At -- at Trousdale, or --

 7                     MR. LATTIMORE:          Yes.

 8                     MR. HORWITZ:         -- or CoreCivic generally?

 9                     MR. LATTIMORE:          At -- at Trousdale.

10                     MR. HORWITZ:         Okay.     Well, I may have to try to

11      talk -- were -- were there a bunch of people that -- that

12      got involved after he --

13                     MR. LATTIMORE:          There was -- well, the -- the ERT

14      is five officers, plus the other two officers that was

15      there.

16                     MR. HORWITZ:         Okay.

17                     MR. LATTIMORE:          Now, I know some of the ERTs --

18      excuse me -- they couldn’t leave their units because they

19      were the only ones in their units.                   So I know there was me,

20      Lucas (phonetic), Morgan -- Lucas was the one that initially

21      discovered him.          He’s the one that made the call.

22                     MR. HORWITZ:         Okay.

23                     MR. LATTIMORE:          Harmon (phonetic) was down there.

24      Williams -- but Williams was SORT (phonetic), and Williams

25      is from Georgia.          And the rest was SORT.              I know, of course,


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 1      Captain Beaver (phonetic) and Lieutenant Murray (phonetic)

 2      responded as well.           And Officer Roberts (phonetic) was the

 3      officer that was with me at the hospital.

 4                     MR. HORWITZ:         Got it.      Did --

 5                     MR. LATTIMORE:          And at the point that --

 6                     MR. HORWITZ:         Did everybody have to write a

 7      report?

 8                     MR. LATTIMORE:          Yes.    We had to write what’s

 9      called a 51C, because all of the reports at Trousdale are

10      labeled under 51 documentation.                  But 51C is the officers

11      incident report.          So we had to write literally what we seen.

12                     So in my report was, after I had finished count --

13      because I had just got back to my unit from returning the

14      count paperwork to the count room, we got the call, “Got an

15      inmate face down in a puddle of blood.”

16                     We did everything we could to subdue Elledge,

17      because at first he was refusing to cuff up.                        But once we

18      got him cuffed, once I made entrance in through the door, I

19      flipped the body over and started CPR.

20                     MR. HORWITZ:         Got it.      [indiscernible].

21                     MR. LATTIMORE:          So yeah, one thing that I can say,

22      the officers that were on scene, we did everything per --

23      per CoreCivic and TDOC policy.                 [indiscernible].

24                     MR. HORWITZ:         Got it.

25                     MR. LATTIMORE:          Yeah.     Like the only -- the only


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 1      people who are at fault here is CoreCivic for, you know,

 2      them housing him with him, and the fact that we did not have

 3      adequate staff.

 4                     MR. HORWITZ:         Got it.      And that’s -- that’s

 5      somebody in the classification department and then somebody

 6      in HR who’s just not --

 7                     MR. LATTIMORE:          Yes.

 8                     MR. HORWITZ: -- giving you enough officers?

 9                     MR. LATTIMORE:          Yes.    Because --

10                     MR. HORWITZ:         Got it.

11                     MR. LATTIMORE: -- [indiscernible] plus in

12      Segregation, you’re supposed to make rounds every

13      30 minutes, which it takes you about 15 minutes to make a

14      good round and physically check on living, breathing bodies.

15      But whenever you’ve only go two officers having to do that

16      to five pods, it -- it takes a long time.

17                     MR. HORWITZ:         Got it.      How much -- how much, if

18      you had to estimate it?

19                     MR. LATTIMORE:          At least double.

20                     MR. HORWITZ:         At least double.

21                     MR. LATTIMORE:          Yes.    Because you’re -- you’re

22      literally doing three other people’s jobs.

23                     MR. HORWITZ:         Got it.      Do you know if they fixed

24      the staffing issues after this happened?

25                     MR. LATTIMORE:          I know for a little bit, yes, but


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 1      even as it stands now, they’re still severely understaffed.

 2      I’ve still got tons of my former coworkers asking me to come

 3      back because [indiscernible] enough staff.

 4                     MR. HORWITZ:         Got it.      Yeah, because right after

 5      this, Mr. Childress died, right?

 6                     MR. LATTIMORE:          Yes.

 7                     MR. HORWITZ:         And that was a classification issue,

 8      too, as I understood it.

 9                     MR. LATTIMORE:          Yes, with Mr. Childress, that was

10      -- again, that’s something that happened in Segregation.

11      And with that one, from what I had heard, his cellmate had

12      gotten a [indiscernible].                  Because his cellmate was a snitch

13      on the compound.

14                     And his cellmate had gotten a message from

15      everybody in Segregation was like, “Look, if you don’t take

16      out your cellie, we’re going to take you out.                         But you have

17      to leave this facility someway or another.                       And the only way

18      out” -- he could get out was killing somebody.

19                     MR. HORWITZ:         Jesus Christ.

20                     MR. LATTIMORE:          Oh, yeah.       Like the inmates at

21      Trousdale are ruthless.

22                     MR. HORWITZ:         When you say --

23                     MR. LATTIMORE:          Like --

24                     MR. HORWITZ: -- “snitch” of the facility, you’re

25      talking about like reporting people for drugs or whatever?


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 1                     MR. LATTIMORE:          Yes.    Like he told on somebody for

 2      something, that’s how he got into Segregation.                         Like if you

 3      get into PC, that’s because you told on somebody.                           Like that

 4      -- that’s really the only -- that’s one of the only ways

 5      that the captains and the lieutenants will move you to

 6      protective custody.

 7                     Because there’s a lot of inmates, you know, they

 8      get themselves into trouble, you know, they’ll make deals

 9      with the wrong people.             And then the first thing they’ll do

10      is, “Oh, I want to hurt myself, or I want to hurt somebody

11      else,” just to go to protective custody because of a mess

12      that they got themselves into.                 You know?

13                     MR. HORWITZ:         Got it.

14                     MR. LATTIMORE:          And so like if an inmate comes to

15      staff and is like, “Hey, I want an RCA,” all we can do is,

16      number one, we -- we can try to remove them from the pod,

17      and then we call for assistance.

18                     And then nine times out of ten, when the captain

19      or the lieutenant comes, they’re either going to take the

20      inmate back into the cell and secure him into his door, or

21      they’re going to say, “Look, you have to tell me something

22      and make me know -- to let me know that, okay, this is

23      something for real, like you are serious, you’re really

24      going to get hurt if we don’t do something.”                        And then

25      they’ll get moved to Seg.


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 1                     MR. HORWITZ:         Is that -- is that why Adams was

 2      there?

 3                     MR. LATTIMORE:          Adams, I’m not sure why he was

 4      there.     I just know that he was there for protective

 5      custody.      I’m not sure how he got there, or anything like

 6      that.

 7                     Because me, as an officer, I try to, you know,

 8      like not necessarily look at inmates’ convictions and their

 9      security levels, because some people do things, and you

10      know, I don’t necessarily agree with it, and I don’t want to

11      take that fight into it.              You know?

12                     MR. HORWITZ:         Got it.   Got it.      And is no one in

13      CoreCivic’s like corporate office or HR or whatever worried

14      about the blowback for something like this?                     It -- it just

15      seems like not being in compliance, being understaffed, and

16      having people murdered would be a huge problem, but they

17      just don’t seem to care.

18                     MR. LATTIMORE:          I think that it’s one of those

19      things to where it’s the power of the almighty dollar.                          You

20      know?     Because CoreCivic gets 200 million from State of

21      Tennessee, and they want to keep that money.                     They want to

22      keep it coming in.

23                     Like we got paid based off of bodies.                  You know,

24      we’d like -- whenever we counted and we finished count,

25      that’s when they cash the check.


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 1                     MR. HORWITZ:         Got it.   And understaffing helps

 2      them save money?

 3                     MR. LATTIMORE:          Definitely.     Because what they’ll

 4      do is, like they’ll higher a bunch of people, and then

 5      they’ll start firing a bunch of people.                   And then they’ll

 6      higher a bunch more and then they’ll fire a bunch more.

 7                     And then, you know, they would much rather pay,

 8      you know, eight officers on night shift a bunch of overtime

 9      to run that entire facility, you know, versus having three

10      officers per unit 24 hours a day, which they’re supposed to.

11                     MR. HORWITZ:         And -- and the people who -- who

12      regulate the prisons, they don’t -- they don’t pop them for

13      this sort of thing?

14                     MR. LATTIMORE:          If they do, I don’t know.

15                     MR. HORWITZ:         Got it.   Well, thank you so much.

16      This has been extremely valuable.                I -- I really, really

17      appreciate it.         I know this is -- this is probably not easy.

18      I would traumatized if -- if I had to experience what you

19      did here.

20                     MR. LATTIMORE:          Well, yes.    But I mean, like with

21      three deployments under my belt, and I was military police,

22      so I was a combat MOS, you know, like for me it -- I mean,

23      yeah, it sucks, but I mean, that’s -- that’s the nature of

24      the beast, you know.            Like you don’t -- you don’t sign up to

25      work in corrections if you’re not expecting to see some


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 1      stuff like that.

 2                     MR. HORWITZ:         Got it.   Got it.      Why did you get

 3      out, just out of curiosity?

 4                     MR. LATTIMORE:          Oh, I got out because I got tired

 5      of working 16-hour shifts and not having anything to show

 6      for it.

 7                     MR. HORWITZ:         Got it.

 8                     MR. LATTIMORE:          And I got tired of seeing less

 9      qualified officers getting promoted.

10                     MR. HORWITZ:         Got it.

11                     MR. LATTIMORE:          Yeah, because I was -- whenever I

12      got out of the military, I was an E-6, I got out right after

13      I did two tours as a drill sergeant.                 And so I’m thinking,

14      you know, at least my military experience enough would be

15      enough for, you know, some type of promotion after being

16      there for 9 months working six days a week.                     But they seen

17      it otherwise, and you know, crooked unit managers and

18      crooked captains, and I was like, “Yeah, you know what?

19      This ain’t for me.”

20                     MR. HORWITZ:         Well, good for you.         What are you

21      doing now?

22                     MR. LATTIMORE:          Now, I’m actually -- I’m actually

23      what I was doing before I went back into corrections.                          I am

24      what’s called a spray technician.                I treat weeds and lawns.

25                     MR. HORWITZ:         Good for you.


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 1                     MR. LATTIMORE:          So I make [indiscernible] lawns

 2      look really pretty.

 3                     MR. HORWITZ:         That’s wonderful.

 4                     MR. LATTIMORE:          Yeah.

 5                     MR. HORWITZ:         Well, good for you for getting out

 6      of this business.           It seems awfully grisly.

 7                     MR. LATTIMORE:          Oh, yeah.    Grisly is an

 8      understatement.          Like it’s -- like Trousdale-Turner is

 9      rough, man.

10                     MR. HORWITZ:         Well --

11                     MR. LATTIMORE:          [indiscernible].

12                     MR. HORWITZ: -- it certainly seems that way.

13                     Then core -- CoreCivic doesn’t -- do they do

14      anything to discourage people from -- from talking to people

15      like me after they leave?

16                     MR. LATTIMORE:          Oh, after they leave, no.

17                     MR. HORWITZ:         No.

18                     MR. LATTIMORE:          Like how I left, I told them that

19      I might have had Covid, and I did.                 And I just never came

20      back.

21                     MR. HORWITZ:         Got it.    Got it.     Well, thank you.

22      Thank you for your time.              Thank you for just --

23                     MR. LATTIMORE:          Oh yes, sir.

24                     MR. HORWITZ: -- talking through this with me.

25      This is enormously valuable, and I’m -- I’m really grateful.


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 1                     This is my cell phone number.                  I can give you my

 2      email, too, if you want to get in touch with me.                           I’ll tell

 3      my investigator we connected so he stops bothering you.

 4                     MR. LATTIMORE:           Oh, that’s -- like that’s --

 5      that’s all good, man.              Like I said, I do -- I had a bunch of

 6      stuff come down the pike recently, and so I’ve been meaning

 7      to get in touch with you guys a lot sooner.                         But things have

 8      just been like really crazy.

 9                     But like if you got any more questions for me or

10      anything like that, just please feel free to like shoot me a

11      text, you know, and then I’ll definitely get in touch with

12      you.

13                     MR. HORWITZ:         Thank you.         I appreciate, you, sir.

14      Talk to you soon.

15                     MR. LATTIMORE:           Oh, yes, sir.         Thank you, man.

16      You have a great rest of your day.

17                                                     (End of recording.)

18                                     *    *      *   *   *   *

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 1

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 3      COUNTY OF DAVIDSON           )

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